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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

------------------------------------- X
TODD DANNHAUSER, and                        :
TD CO., L.P.,                               :
                                            :
              Plaintiffs,                   :            CIV. NO. 16-CV-00747 (CM) (DF)
                                            :
      -against-                             :            DANNHAUSER’S AFFIDAVIT IN
                                            :            OPPOSITION TO
TSG REPORTING, INC.,                        :            DEFENDANT’S MOTION TO
                                            :            ENFORCE AND IN SUPPORT OF
              Defendant.                    :            DANNHAUSER’S CROSS-
___________________________________________ :            MOTION TO
TSG REPORTING, INC.,                        :            ENFORCE THE SETTLEMENT
                                            :            AGREEMENT
              Counterclaim-Plaintiff,       :
                                            :
      -against-                             :
                                            :
TODD DANNHAUSER, and                        :
TD CO., L.P.,                               :
                                            :
              Counterclaim-Defendants.      :
                                            :
------------------------------------- X


STATE OF NEW YORK  )
                   ) ss:
COUNTY OF NEW YORK )

       Todd Dannhauser, being duly sworn deposes and says:

       1.     I am the Plaintiff and Counterclaim-Defendant, along with TD Co., L.P. (together,

“Dannhauser”) in this action and I was a valuable sales agent for TSG Reporting, Inc. (“TSG”), a

court reporting and video services company, for more than ten years.

       2.     I respectfully submit this affidavit in opposition to TSG’s motion to enforce and

in support of this cross-motion to enforce the Settlement Agreement.




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       3.      TSG provides court reporting and videography services to parties involved in

domestic and international litigation. Beginning in January 2005, TSG retained me to sell its

court reporting and video services to potential clients pursuant to a marketing agreement (the

“Marketing Agreement”). Pursuant to the Marketing Agreement, TSG would provide me with bi-

monthly commissions. In addition, I received stock options and voting shares pursuant to two

agreements (the “Stock Option Agreements”).

       4.      After ten years of service, TSG terminated me by letter dated October 5, 2015.

According to the letter, my termination was due to “Gross Reckless Misconduct” resulting from

an incident, which occurred on September 24, 2015. The basis for TSG's for “cause” termination

was, in fact, a personal dispute between a family member and I that occurred at a private

residence and not at a TSG office or workplace.


       5.      On January 2, 2016, pursuant to my rights afforded to me in the Stock Option

Agreements, I provided written notice to TSG of my decision to exercise any and all stock

options that were granted to me and had vested prior to October 5, 2015. However, TSG replied

that it disputed my right to exercise those stock options because I was terminated for “cause,”

and, therefore, my stock options also terminated upon my dismissal.


       6.      Further, it also became clear to me that TSG was improperly calculating my

commissions.


       7.      Consequently, on February 1, 2016, my counsel brought a suit on my behalf in

the United States District Court for the Southern District of New York against Defendant (the

“Action”), alleging that TSG breached the Marketing Agreement, and because I was wrongfully

terminated, I was not entitled to exercise my stock option.


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       8.      After months of discovery and settlement negotiations, TSG and I finally settled

all claims and executed the settlement agreement on December 14, 2017 (the “Settlement

Agreement”).

       9.      The Settlement Agreement provides that, inter alia, TSG agrees to acknowledge

the exercise of my stock options pursuant to the Stock Option Agreements. I elected to exercise

such options on a cashless basis, subject to a determination of a fair market valuation of TSG.

       10.     To determine the fair market valuation of TSG, TSG and I agreed that a third-

party, Empire Valuation Consultants (“Empire”), would appraise TSG to determine the price at

which it will exercise my stock options and acquire my stock.

       11.     Pursuant to the Settlement Agreement, TSG agreed that it will provide Empire

and myself with a general ledger in native format with respect to the “Cost of operations” and

“Selling, general, and administrative expenses” as reported in TSG’s financial statements.

       12.     I requested such general ledger because there was cause for concern that TSG

would try to hide expenses—I had already observed many irregularities in TSG’s operations

while still being a TSG employee. Notably, I identified several expense categories that I

suspected included expenses over and above what was necessary for TSG’s business purposes.

Accordingly, the general ledger would allow me to determine what expenses are considered to be

self-dealing or otherwise non arm’s length transactions and thus, should be “added back” to

TSG’s profitability metrics when appraising TSG.

       13.     Indeed, some of TSG’s expenses were used for personal reasons. I presented to

my counsel evidence of numerous family vacation trips taken by TSG’s CEO, Mike Rixon

(“Rixon”) who frequently used private jets, the cost of which would far exceed the amount of his

source of income. Although TSG stated that the private jets were paid for by Rixon’s father, it is



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now known that TSG has been making payments to Rixon’s father supposedly for “rent” and

potentially other unspecified business services. Further, Rixon admitted that he purchased

personal travel and vacations through the company’s American Express cards. While some

expenses may have been made using reward “points”, a review of personal vacation and other

related payments is absolutely necessary.

       14.     Without “adding back” these expenses, TSG’s fair market value would be

extremely decreased. Thus, it is absolutely necessary for me to review these disbursements and

share this information with Empire.

       15.     However, I am unable to review TSG’s expenses because, to date, TSG has failed

to provide a general ledger. TSG only provided an excel spreadsheet—a manually created

document that merely lists aggregate amounts of expenses. As such, there is no way that I can

determine or understand what particular expenses compose any total sum listed on the

spreadsheet.

       16.     In addition, pursuant to the Settlement Agreement, TSG was required to provide

to me its general ledger and all documents and information provided to Empire (the “Appraisal

Materials”). I agreed that TSG may reasonably redact sensitive business secrets from the copies

of the materials it provided to me, except for data relevant to the valuation. TSG has done the

opposite—it applied liberal redactions to information that is neither competitively sensitive nor

proprietary, including but not limited to travel, office supplies, restaurants, internet service

providers, health insurance providers, shipping, phone service, consulting services, computer

services and equipment, among others.




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       17.     With a complete lack of transparency (except for the appropriate redactions

applied to TSG’s business secrets), I am unable to determine which expenses should be “added

back.” Empire, on its own, is unable to determine such expenses.

       18.     On June 12, 2018, I attended a meeting with my counsel, Empire, Rixon and his

counsel, to discuss the financial information and disclosures provided in the appraisal process to

date. This was also an opportunity to ask questions about the disclosures and to provide insight

into TSG and the court reporting industry for valuation purposes.

       19.     During the meeting, my counsel and I raised the issue that the financial

documents we received were egregiously redacted. My counsel and I commented that even items

such as office supplies and shipping were withheld, and that we do not believe these to be

competitively sensitive or proprietary items that should have been redacted. TSG disagreed and

stated that it will not reveal any information it has already redacted.

       20.     Additionally, I noted that the general ledger is incomplete and consists of nothing

more than an excel spreadsheet itemizing expenses from TSG’s checking account. Specifically,

there is no information as to how any of these expenses are allocated to TSG’s cost centers, as

reflected in its financial statements for the years of 2014, 2015, and 2016. TSG represented that

the excel spreadsheet is their general ledger, and it is the document used by the accountant to

prepare the company’s financial statements.

       21.     My counsel and I also questioned Rixon as to his frequent use of private jets, of

which we have numerous photos posted on social media. When asked to explain how he can

afford using private jets, Rixon indicated that his father pays for these expenses. In this regard, it

is worth noting that TSG makes sublease payments to Rixon’s father for office space in

Farmingdale, New York, at the same address where Rixon’s father and brother run a printing and



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office supplies business. Not surprising, but all line items for office supplies, scanning and

duplication, indeed services that could be performed by Rixon’s family members, are redacted in

their entirety, despite the fact that there is nothing sensitive or proprietary about such services.

This is a clear example of liberal redactions in a potential effort to mask the identity of the

vendors to whom TSG has paid tens of thousands, or millions of dollars. From the information

presented by TSG, there is no way to determine whether expenditures for any line item were

reasonable, arm’s-length, and not self-dealing.

       22.     Without being able to identify the vendors that TSG is paying money to, I am

unable to properly assess whether certain expenses are self-dealing and need to be considered,

and/or added back for the purpose of the valuation.

       23.     Additionally, there is $6.3 million in Consulting Fees paid by TSG identified in

its financial statement and expense spreadsheet. Of particular note is a $60,000 recurring

monthly fee supposedly for the development of TSG’s software platform. This software

development has been going on for years, and will – according to Rixon – last for another two

(2) to four (4) years. Again, there is a lack of transparency as to the party to whom these

consulting fees are paid, and what TSG has received in return. Clearly, the heavy use of

redactions for an item that does not contain sensitive business or proprietary information is not

proper under the Settlement Agreement and causes concern for what else TSG may be hiding.

       24.     I further noticed other discrepancies between TSG’s excel spreadsheet and TSG’s

2016 financial statements regarding its reported expenses. In 2016, TSG reported, on its financial

statement, that it spent $206,267 on travel. Attached hereto as Exhibit H. However, the excel

spreadsheet for that same year only reflects $160 for travel expenses. The same applies to several

other categories. For example, TSG reported it disbursed $111,896 in gifts on its financial



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statement—only $1,900 is reflected on the excel spreadsheet it provided to Empire and myself.

Lastly, TSG reported it expended $748,284 in postage and delivery in 2016 whereas the excel

spreadsheet reflects only a disbursement of $261,291 for that same year. It is apparent that

because the excel spreadsheet does not provide detailed transactions (including a breakdown of

the American Express transactions), I cannot reasonably and accurately assess TSG’s

expenditures from TSG’s excel spreadsheet.

       25.     More importantly, during the meeting, the Empire appraiser agreed that TSG’s

information is, in part, lacking in terms of how these expenses were allocated to cost centers in

TSG financial statements.

       26.     The appraiser further stated that he will look at the unredacted expenses to

determine if anything seems improper, however, he expressed that his ability to do so will be

limited simply to the information provided, as Empire was not engaged to conduct a forensic

audit, and as such will not be conducting a forensic audit of the documents provided by TSG.

Thus, it is crucial that I have access to the required information, for which I bargained, in order

to provide this information to Empire. To date, it has been impossible for me to do so because

TSG applied blanket redactions to virtually all expenses it incurred and failed to provide a

general ledger in the customary format maintained by businesses such as TSG.

       27.     Accordingly, due to the lack of transparency in the Appraisal Materials provided

to me, I am unable to accurately provide insight to Empire and in turn, TSG’s actions have

crippled Empire’s ability to fairly and accurately value TSG.

       28.     When entering the Settlement Agreement, I intended that the general ledger

would reveal the specific transactions and expenses incurred by TSG to provide comments and

suggestions to Empire in making its determinations. I further intended that TSG would only



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  apply redactions to its business secrets, not to other non-competitively sensitive or proprietary

  information, such as office supplies and travel. This was critical for me in entering into the

  Settlement Agreement. Indeed, TSG was well aware of this fact, and promised to provide the

  information, thus inducing my execution of the Settlement Agreement, while it knew full well

  that it either could not meet its disclosure obligations, or would simply choose not to.

            29.          To date, TSG has not provided to Empire and I the general ledger required by the

  Settlement Agreement. Further, and against the express terms of the Settlement Agreement, TSG

  has applied redactions to information that is relevant to the valuation of TSG, and that was

  critical to my executing the Settlement Agreement.

            30.          Without the documents I bargained for, Empire is unable to accurately, with full

  information and feedback, determine a fair market valuation ofTSG. This in turn, directly affects

  the price of my shares that TSG agreed to purchase.



  I declare under penalty of perjury that the forgoing statements are true and correct to the best of

  my knowledge and belief.




 Sworn to before me this
~ y of December: 2018




                                              MARGARET HERNANDEZ-;-.§
  2232-02                                          Notary Public        8
                                                 STATE OF TEXAS
  4819-6154-3545,   V.   3                     My Comm. Exp. 08-29-21
                                               Notary ID# 13126310-3




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